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From:               Christmas, Natalie (OASG)
To:                 John Keller
Cc:                 Geissler, Jonas (CRT)
Subject:            RE: DOJ Letter to AG Ellison 4-8-25
Date:               Friday, April 11, 2025 10:26:49 AM
Attachments:        image001.png



Good morning,

The Department is willing to grant an additional 7 days for Attorney General Ellison’s response. If
there is a need for a further extension, please write back with an explanation of the need for the
extension.

The Department has initiated a compliance review for the University of Minnesota, Metropolitan State
University, and St. Paul Public Schools (ISD #625), regarding funding they receive directly from the
Department of Justice.

Thank you,

Natalie Christmas
Counsel
Office of the Associate Attorney General
U.S. Department of Justice

From: John Keller <John.Keller@ag.state.mn.us>
Sent: Thursday, April 10, 2025 3:25 PM
To: Geissler, Jonas (CRT) <Jonas.Geissler@usdoj.gov>
Cc: Christmas, Natalie (OASG) <Natalie.Christmas@usdoj.gov>
Subject: [EXTERNAL] RE: DOJ Letter to AG Ellison 4-8-25

Good Afternoon,

I am confirming receipt of your Tuesday correspondence. Minnesota would like an additional two
weeks to respond. Can you confirm by COB tomorrow (April 11) whether you will grant an extension?

In addition, I would appreciate clarification of two points in the letter. I would like to know which
Minnesota entities will be the focus of the Department of Justice compliance review. And I would like
to know which federal funds you are suggesting will be withheld.

Sincerely,

John Keller



               John C. Keller he/him/his
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              Chief Deputy Attorney General
              Office of the Minnesota Attorney General
              75 Rev. Dr. Martin Luther King, Jr. Blvd., Suite 102, St. Paul, MN 55155
              (651) 757-1355 (Office)


Executive Assistant – Rachael Bernardini
(651) 247-8557 (Cell) rachael.bernardini@ag.state.mn.us




From: Geissler, Jonas (CRT) <Jonas.Geissler@usdoj.gov>
Sent: Tuesday, April 8, 2025 4:25 PM
To: John Keller <John.Keller@ag.state.mn.us>
Cc: Christmas, Natalie (OASG) <Natalie.Christmas@usdoj.gov>
Subject: DOJ Letter to AG Ellison 4-8-25

   You don't often get email from jonas.geissler@usdoj.gov. Learn why this is important

Mr. Keller:

Please see the attached letter from the U.S. Department of Justice. Please acknowledge
receipt.

Thank you.

Sincerely,

Jonas Geissler

Senior Counsel
Office of Assistant Attorney General
Civil Rights Division



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